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June 10, 2022


VIA ECF

Hon. Analisa Torres
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007


SEC v. Ripple Labs Inc., et al., No. 20-cv-10832 (AT) (SN) (S.D.N.Y.)


Dear Judge Torres:

           Pursuant to Rule IV(A)(ii) of this Court’s Individual Rules, we write on behalf
of Defendants Ripple Labs Inc., Bradley Garlinghouse, and Christian A. Larsen
(collectively, “Defendants”) regarding Defendants’ filing under seal today of its
response (D.E. 503) to the SEC’s brief opposing the Movants’ motion for leave to file an
amicus brief (D.E. 489, 499).

           Defendants respectfully request that our entire response letter (D.E. 503) be
filed on the public docket (with the exception of a redaction of the expert’s name in
Exhibit 1 to Defendants’ letter). We filed our response letter under seal today out of
deference to the Court’s forthcoming ruling on the SEC’s still-unresolved motion to seal.
The Court ordered the SEC to amend and justify its position on sealing by June 14,
2022. See D.E. 502.

          Defendants are prepared to re-file their response letter publicly with the
Court’s consent, or once the Court ultimately rules on the SEC’s pending motion to seal.



                                          Respectfully submitted,


 /s/ Andrew J. Ceresney______________
 Andrew J. Ceresney                                   PAUL, WEISS, RIFKIND,
 DEBEVOISE & PLIMPTON LLP                             WHARTON & GARRISON LLP
 Counsel for Defendant Ripple Labs Inc.
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                                              Counsel for Defendant Christian A.
                                              Larsen



 KELLOGG, HANSEN, TODD, FIGEL,                CLEARY GOTTLIEB STEEN &
 & FREDERICK PLLC                             HAMILTON LLP
 Counsel for Defendant Ripple Labs Inc.       Counsel for Defendant Bradley
                                              Garlinghouse


cc:    All Counsel of Record (via ECF)
